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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff(s),                 CASE NUMBER: 05-80025
                                                  HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                                          ORDER

      This matter is before the Court on Timothy O’Reilly’s “Motion to Preclude the

Government from using the Nix-Bey Recording to Show Lack of Remorse and/or Future

Dangerousness.” (Doc. #599). O’Reilly says his bragging in jail six years ago does not

show he currently lacks remorse for killing Norman Anthony Stephens, and the idea that

he constitutes a danger in the future is “illusory.” See United States v. Concepcion

Sablan, 555 F.Supp.2d 1205 (D. Colo. 2007).

      Oral argument was heard on August 5, 2010.

      O’Reilly’s motion is GRANTED IN PART.

      On December 30, 2009, this Court held:

      O’Reilly’s taped statements to another inmate, Barron Nix-Bey, describing
      how Norman Stephens was killed during the Dearborn Credit Union
      robbery, his lack of remorse for killing Stephens, and his statement that he
      is willing to kill in the future, is “lack of remorse” evidence that is probative
      of O’Reilly’s future dangerousness. These statements are admissible to
      support the “future dangerousness” factor.

(Doc. #432).



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        The Government may still introduce the Nix-Bey recording as part of its future

dangerousness evidence, but the entire recording is not admissible. The Government

must ensure that the Nix-Bey recording that is played to the jury during the penalty

phase is that part which addresses O’Reilly’s lack of remorse for killing Mr. Stephens,

including O’Reilly’s statement that he would have killed co-Defendant Earl Johnson if he

had known how Johnson was going to handle his share of the proceeds.

        The Government must exclude the part of the Nix-Bey recording that contains

O’Reilly’s statements regarding robberies he plans to commit when released from

prison, and statements about other witnesses O’Reilly plans to kill when released from

prison. These statements do not relate to O’Reilly’s future dangerousness in the prison

setting. See Order dated February 1, 2008 (Doc. #309).

        IT IS ORDERED.


                                                 s/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: August 6, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 August 6, 2010.

 s/Linda Vertriest
 Deputy Clerk




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